       19-52298-rbk Doc#112 Filed 11/12/19 Entered 11/12/19 23:21:52 Main Document Pg 1 of
                                               27
 Fill in this information to identify the case
 Debtor name        Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number        19-52298
 (if known)                                                                                                       Check if this is an
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.


     All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                           debtor's interest

2.   Cash on hand

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $0.00


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes. Fill in the information below.




Official Form 206A/B                               Schedule A/B: Assets -- Real and Personal Property                                          page 1
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                                                 27
Debtor        Gabriel Investment Group, Inc.                                               Case number (if known)    19-52298
              Name

                                                                                                                         Current value of
                                                                                                                         debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
     Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                         $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                         Current value of
                                                                                                                         debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                  –                                        = .............. 
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                                     –                                        = .............. 
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                         $0.00


 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                            Valuation method             Current value of
                                                                                            used for current value       debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                 % of ownership:
15.1.    100% ownership of Gabriel GP, Inc.                                  100%           Net Book Value                      $2,464,843.00
15.2.    100% ownership of Smart Liquor LLC                                  100%           Net Book Value                               $0.00
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

         Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                $2,464,843.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                           page 2
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                                                 27
Debtor        Gabriel Investment Group, Inc.                                          Case number (if known)     19-52298
              Name

     General description                          Date of the     Net book value of     Valuation method             Current value of
                                                  last physical   debtor's interest     used for current value       debtor's interest
                                                  inventory       (Where available)
19. Raw materials                                 MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                     $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                          Net book value of     Valuation method             Current value of
                                                                  debtor's interest     used for current value       debtor's interest
                                                                  (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                     $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                       page 3
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                                                 27
Debtor        Gabriel Investment Group, Inc.                                            Case number (if known)    19-52298
              Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method             Current value of
                                                                    debtor's interest    used for current value       debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                      $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method             Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value       debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                      $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes



Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                        page 4
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                                                 27
Debtor        Gabriel Investment Group, Inc.                                             Case number (if known)    19-52298
              Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes


Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
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                                                 27
Debtor        Gabriel Investment Group, Inc.                                             Case number (if known)   19-52298
              Name


Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                      $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                        page 6
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                                                 27
Debtor          Gabriel Investment Group, Inc.                                                                  Case number (if known)       19-52298
                Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                              $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                             $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00

83. Investments. Copy line 17, Part 4.                                             $2,464,843.00

84. Inventory. Copy line 23, Part 5.                                                           $0.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                 $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                        $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                     $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +                $0.00

91. Total. Add lines 80 through 90 for each column.                    91a.        $2,464,843.00            +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $2,464,843.00




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                      page 7
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                                                 27
 Fill in this information to identify the case:
 Debtor name          Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number          19-52298                                                                                    Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Michelle M. Maloney                              subject to a lien                                 $1,000,000.00               $2,464,843.00

          Creditor's mailing address                       `
          922 S Alamo St                                   Describe the lien
                                                           Agreement
                                                           Is the creditor an insider or related party?
          San Antonio                TX   78205             No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred                            No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent
              No                                              Unliquidated
          
              Yes. Specify each creditor, including this      Disputed
          
              creditor, and its relative priority.
1) PNC Bank, National Association; 2) PNC Bank, National Association; 3) Michelle M. Maloney.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $7,381,261.19


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
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                                                 27
Debtor       Gabriel Investment Group, Inc.                                                    Case number (if known) 19-52298

 Part 1:         Additional Page                                                                               Column A               Column B
                                                                                                               Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                      Do not deduct the      that supports
sequentially from the previous page.                                                                           value of collateral.   this claim

 2.2     Creditor's name                                       Describe debtor's property that is
         PNC Bank, National Association                        subject to a lien                                 $6,371,165.79            $2,464,843.00

         Creditor's mailing address                            `
         2100 Ross Avenue, Suite 1850                          Describe the lien
                                                               `
                                                               Is the creditor an insider or related party?
         Dallas                     TX       75201              No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          5    6      2   3     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines 2.1

 2.3     Creditor's name                                       Describe debtor's property that is
         PNC Bank, National Association                        subject to a lien                                     $10,095.40           $2,464,843.00

         Creditor's mailing address                            `
         2100 Ross Avenue, Suite 1850                          Describe the lien
                                                               `
                                                               Is the creditor an insider or related party?
         Dallas                     TX       75201              No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          6    4      8   7     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines 2.1




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       Gabriel Investment Group, Inc.                                            Case number (if known) 19-52298

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         PNC Bank, N.A.                                                                Line    2.3
         c/o Holland & Knight
         Attn: Brent McIlwain / Brian Smith
         200 Crescent Circle #1600
         Dallas                                       TX       75201




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3
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 Fill in this information to identify the case:
 Debtor               Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number          19-52298                                                                                Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1    Priority creditor's name and mailing address        As of the petition filing date, the
                                                                claim is: Check all that apply.

                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Gabriel Investment Group, Inc.                                           Case number (if known)      19-52298

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:



Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
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Debtor        Gabriel Investment Group, Inc.                                               Case number (if known)   19-52298

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Internal Revenue Service                                              Line
         Centralized Insolvency Office                                                Not listed. Explain:
                                                                               
         P.O. Box 7346                                                                Notice Only


         Philadelphia                  PA      19101-7346


4.2      Office of the Attorney General [Texas]                                Line

         Attn: Bankruptcy / Collections                                               Not listed. Explain:
                                                                               
         P.O. Box 12548                                                               Notice Only


         Austin                        TX      78711-2545


4.3      TABC                                                                  Line
         Attn: Legal                                                                  Not listed. Explain:
                                                                               
         P.O. Box 13127                                                               Notice Only


         Austin                        TX      78711-3127


4.4      Texas Comptroller of Public Accounts                                  Line
         Revenue Accounting Division -Bankr. Sect                                     Not listed. Explain:
                                                                               
         P.O. Box 13528 Capitol Station                                               Notice Only


         Austin                        TX      78711




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 3
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Debtor      Gabriel Investment Group, Inc.                                    Case number (if known)      19-52298

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                        $0.00

5b. Total claims from Part 2                                                              5b.   +                    $0.00


5c. Total of Parts 1 and 2                                                                5c.                        $0.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 4
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 Fill in this information to identify the case:
 Debtor name         Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         19-52298                                 Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.   List all contracts and unexpired leases                                            State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1
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 Fill in this information to identify the case:
 Debtor name         Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         19-52298                                                                                      Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Don's & Ben's, Inc.             10903 Gabriel's Place                                  PNC Bank, National                   D
                                       Number      Street                                     Association                          E/F
                                                                                                                                   G

                                       San Antonio                    TX      78217
                                       City                           State   ZIP Code


2.2    Don's & Ben's, Inc.             10903 Gabriel's Place                                  Michelle M. Maloney                  D
                                       Number      Street
                                                                                                                                   E/F
                                                                                                                                   G

                                       San Antonio                    TX      78217
                                       City                           State   ZIP Code


2.3    Fiesta Wholesale                10903 Gabriel's Place                                  PNC Bank, National                   D
       Liquors, LLC                    Number      Street                                     Association                          E/F
                                                                                                                                   G

                                       San Antonio                    TX      78217
                                       City                           State   ZIP Code


2.4    Gabriel GP, Inc.                10903 Gabriel's Place                                  PNC Bank, National                   D
                                       Number      Street                                     Association                          E/F
                                                                                                                                   G

                                       San Antonio                    TX      78217
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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Debtor       Gabriel Investment Group, Inc.                                        Case number (if known)   19-52298



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.5   Gabriel GP, Inc.              10903 Gabriel's Place                             Michelle M. Maloney                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78217
                                    City                        State   ZIP Code


2.6   Gabriel Holdings, LLC         10903 Gabriel's Place                             PNC Bank, National                 D
                                    Number     Street                                 Association                        E/F
                                                                                                                         G

                                    San Antonio                 TX      78217
                                    City                        State   ZIP Code


2.7   Gabriel Holdings, LLC         10903 Gabriel's Place                             Michelle M. Maloney                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78217
                                    City                        State   ZIP Code


2.8   SA Discount Liquors,          10903 Gabriel's Place                             PNC Bank, National                 D
      Inc.                          Number     Street                                 Association                        E/F
                                                                                                                         G

                                    San Antonio                 TX      78217
                                    City                        State   ZIP Code


2.9   SA Discount Liquors,          10903 Gabriel's Place                             Michelle M. Maloney                D
      Inc.                          Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78217
                                    City                        State   ZIP Code


2.10 Smart Liquors, L.L.C.          10903 Gabriel's Place                             PNC Bank, National                 D
                                    Number     Street                                 Association                        E/F
                                                                                                                         G

                                    San Antonio                 TX      78217
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
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 Fill in this information to identify the case:


 Debtor Name Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF TEXAS

 Case number (if known):                19-52298                                                                                                                                         Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                       $2,464,843.00

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                      $2,464,843.00


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                   $7,381,261.19

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                               $0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +             $0.00


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $7,381,261.19




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                                             of 27
 Fill in this information to identify the case and this filing:
 Debtor Name         Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         19-52298
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


              Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:



                Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                Schedule H: Codebtors (Official Form 206H)

                A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                Amended Schedule

                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 11/12/2019                       X /s/ David T. Fyffe
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             David T. Fyffe
                                                             Printed name
                                                             Authorized Representative
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Gabriel Investment Group, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number        19-52298
 (if known)                                                                                                            Check if this is an
                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor          Gabriel Investment Group, Inc.                                               Case number (if known)       19-52298
                Name

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.


         None

 Part 3:          Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.


         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


         None

         Who was paid or who received the transfer?             If not money, describe the property               Dates                Total amount
                                                                transferred                                                            or value
 11.1. Pulman Cappuccio & Pullen, LLP                                                                             9/26/19                $250,000.00

         Address

         2161 NW Military Hwy. #400
         Street


         San Antonio                  TX       78213
         City                         State    ZIP Code

         Email or website address
         www.pulmanlaw.com

         Who made the payment, if not debtor?




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Debtor       Gabriel Investment Group, Inc.                                                Case number (if known)      19-52298
             Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


        None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


        None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

        No.
        Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                 No.
                 Yes.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

        No. Go to Part 10.
        Yes. Does the debtor serve as plan administrator?
               No. Go to Part 10.
               Yes. Fill in below:




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Debtor       Gabriel Investment Group, Inc.                                                 Case number (if known)      19-52298
             Name


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


        None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

        None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

        None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


        None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

        No
        Yes. Provide details below.




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Debtor           Gabriel Investment Group, Inc.                                             Case number (if known)      19-52298
                 Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:           Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.1. Gabriel GP, Inc.                                  Liquor Retail                               Do not include Social Security number or ITIN.
         Name
         10903 Gabriel's Place                                                                       EIN: 7     4 – 2      6    1    8       8   7    0
         Street
                                                                                                     Dates business existed

         San Antonio                 TX      78217                                                   From     12/10/1991       To   current
         City                        State   ZIP Code

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.2. Smart Liquors LLC                                 Liquor Retail                               Do not include Social Security number or ITIN.
         Name
         10903 Gabriel's Place                                                                       EIN: 4     5 – 2      3    8    5       3   3    4
         Street
                                                                                                     Dates business existed

         San Antonio                 TX      78217                                                   From      3/2/2011        To     2016
         City                        State   ZIP Code

26. Books, records, and financial statements

     26a.       List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                    None

                    Name and address                                                                 Dates of service

      26a.1. David T. Fyffe                                                                          From      6/15/15         To   present
                    Name
                    10903 Gabriel's Place
                    Street


                    San Antonio                                 TX          78217
                    City                                        State       ZIP Code




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Debtor        Gabriel Investment Group, Inc.                                                 Case number (if known)      19-52298
              Name

    26b.     List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                 None

                 Name and address                                                                    Dates of service

      26b.1. Akin Doherty Klein & Fuege PC                                                           From        2007          To     present
                 Name
                 8610 N New Braunfels #101
                 Street


                 San Antonio                                   TX          78217
                 City                                          State       ZIP Code

    26c.     List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                 None

                 Name and address                                                                 If any books of account and records are
                                                                                                  unavailable, explain why
         26c.1. David T. Fyffe
                 Name
                 10903 Gabriel's Place
                 Street


                 San Antonio                                   TX          78217
                 City                                          State       ZIP Code

    26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
             financial statement within 2 years before filing this case.

                 None

                 Name and address

      26d.1. PNC Bank, N.A.
                 Name
                 2100 Ross Ave., Suite 1850
                 Street


                 Dallas                                        TX          75201
                 City                                          State       ZIP Code

                 Name and address

      26d.2. White Oak Commercial Finance, LLC
                 Name
                 1700 Broadway, 19th Floor
                 Street


                 New York                                      NY          10019
                 City                                          State       ZIP Code

                 Name and address

      26d.3. PRF Capital Group
                 Name
                 8000 IH-10 West, Suite 600
                 Street


                 San Antonio                                   TX          78230
                 City                                          State       ZIP Code




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
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Debtor       Gabriel Investment Group, Inc.                                               Case number (if known)     19-52298
             Name

               Name and address

       26d.4. Siena Lending Group LLC
               Name
               9 W. Broad St.
               Street


               Stamford                                      CT          06902
               City                                          State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

        No.
        Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                    Address                                      Position and nature of any interest       % of interest, if any

Inez Cindy Gabriel                      10903 Gabriel's Place                        President                                         18.2%
                                        San Antonio, TX 78217
Ronald Gabriel                          10903 Gabriel's Place                        Treasurer                                        21.21%
                                        San Antonio, TX 78217
John D. Gabriel, Sr.                    10903 Gabriel's Place                        Vice President                                   16.15%
                                        San Antonio, TX 78217
David T. Fyffe                          10903 Gabriel's Place                        Chief Financial Officer                             0%
                                        San Antonio, TX 78217
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

        No
        Yes. Identify below.

Name                                    Address                                      Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

        No
        Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

        No
        Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

        No
        Yes. Identify below.




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Debtor        Gabriel Investment Group, Inc.                                             Case number (if known)    19-52298
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 11/12/2019
            MM / DD / YYYY
X /s/ David T. Fyffe                                                         Printed name David T. Fyffe
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Authorized Representative


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
